

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0332-07





JOSE AGUIRRE, Appellant


                  




v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


TRAVIS COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because it does not contain a complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: June 13, 2007

Do Not Publish



